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BAN lTED STATES BANKRUPTCY COURT
UNITED STATES KRUPTCY CO STERN DISTR|CT OF CAL|FORN|A

EASTERN DISTRICT OF CALIFORNIA

In re Case No 10-37374-D-7

KIRRA DENISE MOORE,

Adv Pro No ll-2022-D
Debtor
Docket Control Nos DMR-7,

DMR-8

 

PALMER J SWANSON, P C , Hearlng

DATE November 16, 2011

Plalntlff, TIME 10 00 a m
DEPT D
v
Supplemental Brleflng
KIRRA DENISE MOORE, Concluded and Motlon
Submltted on
Defendant

Vvvvv\_/`_/V`_/v`_/VVVVVVVV

December 8, 2011 é
t

 

Thls memorandum declslon ls not approved for publlcatlon and may
not be clted except when relevant under the doctrlne of law of
the case or the rules of clalm precluslon or lssue precluslon
MEMORANDUM DECISION
On September 30, 2011, the defendant ln thls adversary
proceedlng, Klrra~Denlse Moore (“Moore”), flled a Motlon to
Dlsmlss the Adversary Complalnt and for Partlal Summary Judgment

on the Adversary Complalnt, Docket Control No DMR-7 (the

“Motlon”) 12 The Motlon ls brought on the ground that the

 

1 The use of “partlal” ln the tltle appears to be a
mlsnomer, as the Motlon seeks judgment on all the causes of
actlon of the complalnt

2 Most of the movlng papers bear elther Docket Control No
DMR-7 or DMR-S, a few bear other docket control numbers Moore's
counsel has lndlcated the documents are lntended to comprlse a
slngle motlon, and the partles have treated them as such

 

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CaSe 11-02022 Filed 01/03/12 DOC 206

plalntlff, Palmer J Swanson, P C ,3 lacks standlng to pursue the
complalnt The Motlon was brlefed and argued, and the court then
allowed the partles to submlt supplemental evldence and brleflng
For the reasons dlscussed below, the court wlll deny both the
request for dlsmlssal and the request for summary judgment
l PRELIMINARY PROCEDURAL ISSUE

Flrst, Swanson points out that the Motlon was not tlmely
flled under the court’s schedullng order, whlch requrred
dlsposltlve motlons to be heard by September 30, 2011 Here, the
Motlon was flled on September 30, 2011, and was not heard untll
November 16, 2011 Moore falled to request modlflcatlon of the
schedullng order to permlt the late flllng, whlch ordlnarlly
would cause the court to deny the Motlon

However, the defense of lack of standlng ls a dlsposltlve
one Moore has ralsed the lssue repeatedly slnce the complalnt
was flled, and the court has addressed lt ln earller rullngs
Thus, Moore's present challenge to Swanson’s standlng does not
come as a surprlse to Swanson Further, whlle the schedullng
order provldes that fallure to schedule a Rule 12(b)(6)4 motlon
by the dlsposltlve motlons bar date constltutes a walver of the
contentlon that the complalnt falls to state a clalm upon whlch

rellef can be granted, the order does not contaln a slmllar

 

3 “Swanson” as used hereln wlll mean the plalntlff, Palmer
J Swanson, P C “Palmer Swanson” wlll mean the plalntlff’s
prlnclpal, Palmer J Swanson

4 All references to Rule 12(b)(6) are to Fed R Clv P
12(b)(6); all references to Rule 56 are to Fed R Clv P 56
Unless otherwlse lndlcated, all other Rule references are to the
Federal Rules of Bankruptcy Procedure, Rules 1001-9037, and all
Code, chapter, and section references are to the Bankruptcy Code,
ll U S C §§ 101-1532

 

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CaSe 11-02022 Filed 01/03/12 DOC 206

provlslon wlth regard to summary judgment motlons

Moreover, under Fed R Clv P 56(f), lncorporated hereln
by Fed R Bankr P 7056, the court may conslder summary
judgment on lts own at any tlme, even absent a motlon by a party
And a court has the power to reconslder and modlfy lts
lnterlocutory orders at any tlme prlor to entry of flnal
judgment, “for cause seen by lt to be sufflclent,” under ied R
Clv P 54(b) (Rule 7054(a)) See Cltv of L.A v Santa Monlca
BayKeeper, 254 F 3d 882, 885 (9th Clr 2001) Here, judlclal
economy and the lnterests of avoldlng delay and expense to the
partles dlctate that the lssue be consldered at thls tlme, and
the court wlll modlfy the schedullng order to permlt lt to
conslder the Motlon. Swanson has opposed and argued the Motlon
on substantlve grounds and the partles have made a factual
record, the court has permltted the submlsslon of addltlonal
evldence and brleflng after the hearlng, and no further argument
or evldence ls necessary

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Thls court has jurlsdlctlon over the Motlon pursuant to 28
U S C §§ 1334 and 157(b)(1) The Motlon ls a core proceedlng
under 28 U S C § 157(b)(2)(J)
A. Standards for Dlsmlssal

By lts complalnt ln thls proceedlng, Swanson seeks to deny
Moore's dlscharge pursuant to § 727(a) or to dlsmlss her chapter
7 case pursuant to § 521(e)(2)(C) (for fallure to Supply a copy
of her tax return to Swanson upon lts request). In the
complalnt, Swanson alleges lt ls a credltor of Moore, the

clrcumstances of the debt are not descrlbed

 

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CaSe 11-02022 Filed 01/03/12 DOC 206

Moore contends Swanson ls not a credltor of hers, and as a
result, has no standlng to prosecute a complalnt to deny her
dlscharge or to dlsmlss her chapter 7 case The Motlon ls
brought under both Rule 12(b)(6) and Rule 56 A Rule 12(b)(6)
motlon focuses, wlth llmlted exceptlons, only on the pleadlngs
See Swartz v KPMG LLP, 476 F 3d 756, 763 (9th Clr 2007) In‘
rullng on a Rule 12(b)(6) motlon, a court “accept[s] as true all
facts alleged ln the complalnt, and draw[s] all reasonable
lnferences ln favor of the plalntlff.” al-Kldd v Ashcroft,5580
F 3d 949, 956 (9th Clr 2009), cltlng Newcal Indus , Inc v Ikon
Offlce Solutlon, 513 F 3d 1038, 1043 n 2 (9th Clr 2008)

So far as standlng ls concerned, “[t]o survlve a Rule
12(b)(6) motlon to dlsmlss, [a plalntlff] must allege facts ln
hls [complalnt] that, lf proven, would confer standlng upon hlm ”
Sacks v Offlce of Forelgn Assets Control, 466 F 3d 764, 771 (9th
Clr 2006), cltlng Warren v Fox Famllv Worldwlde1 Inc , 328 F 3d
1136, 1140 (9th Clr 2003) In thls case, acceptlng as true the
allegatlon ln the complalnt that Swanson ls a credltor of Moore,
the court concludes that the complalnt sufflclently pleads
standlng, and to the extent the Motlon seeks dlsmlssal under Rule
12(b)(6), lt wlll be denled
B Standards for Summarv Judgment

In conslderlng a summary judgment motlon, on the other hand,
the court looks beyond the pleadlngs and conslders the materlals
ln the record, lncludlng deposltlons, documents, declaratlons,
dlscovery responses, and so on Rule 56(c)(l) “The court need
conslder only the clted materlals, but lt may conslder other

materlals ln the record ” Rule 56(c)(3) The movlng party bears

 

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CaSe 11-02022 Filed 01/03/12 DOC 206

the burden of produclng evldence showlng that there ls no genulne
lssue of materlal fact and that lt ls entltled to judgment as a
matter of law Celotex v Catrett, 477 U S 317, 322-23 (1986)
Once the movlng party has met lts lnltlal burden, the non-movlng
party must present afflrmatlve evldence showlng the exlstence of
genulne lssues of fact for trlal Anderson v leerty Lobbyc
lng_, 477 U S 242, 256-57 (1986)

C Standlng to Object to a Bankruptcy Dlscharge

“Standlng to object to a dlscharge ls llmlted to the
trustee, a credltor, or the Unlted States trustee under § 727(a)
§ee § 727(c)(1). Only those credltors who have clalms that wlll
be affected by the dlscharge can flle objectlons to the
dlscharge ” McCleskev v Stockton (In re Stockton), 2005 Bankr
LEXIS 3375, *30 (9th Clr BAP 2005), cltlng In re Vahlslng, 829
F 2d 565, 567 (5th Clr 1987) True, a credltor whose clalm ls
dlsputed by the debtor may object to dlscharge §§§ Vahlslng,
829 F 2d at 567 [“A dlscharge would affect the lnterests of
credltors wlth dlsputed clalms slnce they have a chance of
prevalllng on thelr clalms ”]

However, once a credltor's clalm has been dlsallowed, he or
she no longer has standlng to object to dlscharge Stockton,
2005 Bankr LEXIS 3375, at *31, cltlng Vahlslng, 829 F 2d at 567
Thls ls because “a dlscharge wlll not even potentlally affect”
the lnterests of a person or entlty not holdlng a clalm agalnst
the debtor Vahlslnq, 829 F 2d at 567 Thus, a plalntlff’s
status as a credltor ls approprlate for determlnatlon on a motlon
to dlsmlss, see In re Beugen, 99 B R 961, 962-65 (9th Clr BAP

1989), or, as here, a motlon for summary judgment See CBSl Inc

 

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CaSe 11-02022 Filed 01/03/12 DOC 206

v Folks (In re Folks), 211 B R 378, 383-84 (9th Clr BAP 1997)
D Swanson’s Standlnq

1 Factual Background

Palmer Swanson, the plalntlff’s prlnclpal, ls an attorney
who clalms Moore owes hls flrm approxlmately $32,394 51 plus
lnterest for unpald legal servlces and costs That flgure ls
llsted ln a letter Palmer Swanson sent to Moore on February 255
2008 as the amount due for servlces performed ln a probate case
concernlng the estate of Margaret Curtls (the “probate case”)
Curtls was the aunt of Steve Leus, who ls and at the tlme the
legal servlces were performed was Moore's boyfrlend and co-
habltant There has been no allegatlon that Moore owes Swanson
for servlces rendered ln any other matter The fees ln questlon
were bllled by Swanson on an hourly basls, they are not based on
a contlngency fee

2 Callfornla Buslness & Professlons Code § 6148

Cal Bus & Prof Code § 6148(a) provldes that “[l]n any
[non-contlngency fee] case ln whlch lt ls reasonably
foreseeable that total expense to a cllent, lncludlng attorney
fees, wlll exceed one thousand dollars ($1,000), the contract for
servlces ln the case shall be ln wrltlng ” The wrltten contract

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shall contaln the basls of compensatlon, [t]he general nature of
the legal servlces to be provlded to the cllent,” and the
respectlve responslbllltles of the attorney and the cllent ld_
Fallure to comply wlth these requlrements “renders the agreement
voldable at the optlon of the cllent, and the attorney shall,

upon the agreement belng volded, be entltled to collect a

reasonable fee ” § 6148(c)

 

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CaSe 11-02022 Filed 01/03/12 DOC 206

Palmer Swanson testlfled at hls deposltlon that he ls not
aware of any wrltten contracts executed between hlm and Moore for
the provlslon of legal servlces except an Attorney and Cllent
Engagement Agreement slgned by Moore and Palmer Swanson ln
January 2006 (the “Agreement”) The Agreement states that
Swanson wlll represent Moore wlth respect to “an actlon for
damages for converslon of furnlture ”5 (At the tlme the
Agreement was slgned, Moore had a buslness called Encore'
Bullders Clearlng House, whlch was ln the buslness of selllng
furnlture that had been ln model homes ) The Agreement does not
state that lt may be extended to cover any servlces or types of
Servlces other than the orlglnal actlon for damages for
converslon of furnlture Thus, Swanson does not dlspute that
Moore and Swanson dld not have a wrltten agreement expllcltly
coverlng the legal servlces provlded by Swanson ln the probate»
case Palmer Swanson has testlfled that at the tlme he began
renderlng servlces ln the probate case, he dld foresee that the
amount of legal fees would be more than $1,000

When asked why he dld not execute a wrltten retalner
agreement regardlng the probate case, Palmer Swanson replled that
the matter was wlthln the scope of Cal Bus & Prof Code §
6148(d)(2) That subsectlon provldes that the requlrement of a
wrltten agreement shall not apply to “[a]n arrangement as to the
fee lmplled by the fact that the attorney's servlces are of the

same general klnd as prevlously rendered to and pald for by the

 

5 Exhlblts l Through 7 to Supplemental Declaratlon of
Palmer J Swanson ln Support of Plalntlff's Opposltlon to
Defendant's Motlon for Summary Judgment, flled November 28, 2011
(“Supp Exhlblts”), Ex 1, p 6, ll

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CaSe 11-02022 Filed 01/03/12 DOC 206

cllent ” In thls regard, Palmer Swanson testlfled that after the
orlglnal matter -- the furnlture converslon matter, Swanson
handled other buslness matters for Moore -- “dlsputes wlth people
over storage of furnlture, dlsputes over performance of contracts
lnvolvlng furnlture and staglng,” a nulsance complalnt agalnst
Moore lnvolvlng a dog, and a couple of other nonbuslness matters
he could not recall the nature of He characterlzed the probate
case as “the latest ln a long llne of those,” and concluded that
lt fell wlth the scope of § 6148(d)(2) 6

The court dlsagrees for at least two reasons Flrst,
servlces ln a probate case are not “of the same general klnd” as
those lnvolvlng dlsputes over furnlture contracts or other
buslness matters Second, the servlces prevlously rendered by
Swanson to Moore and pald for by Moore were servlces for MQQ;§,
whereas the servlces Swanson performed ln the probate case were

servlces prlmarlly for a thlrd party -- Leus 7 For both these

 

 

6 Palmer Swanson testlfled that when Moore would request

servlces on a new matter, “[he] would say, okay, we’ll do that,
and we’ll do lt under the same terms as we have ln our prlor
agreement [the Agreement] And I would generally then wrlte her

a letter statlng, I’m undertaklng your representatlon ln thls new
matter, and away I go ” Notlce of Lodglng Deposltlon Transcrlpt
of Palmer J Swanson, Taken August 30, [2011], Changes and
Exhlblts 1-24 Thereto, ln Support of Debtor[']s Motlon for
Summary Judgment Under Local Rule 7056-1(a), flled October 27,
2011 (“Swanson Dep ”), at 48

Swanson has not suggested that he wrote to Moore conflrmlng
hls representatlon ln the probate case, and has not submltted a
copy of any such letter

7 Swanson contends lts servlces ln the probate case were
provlded for Moore and Leus jolntly, and that lt had prevlously
represented both of them jolntly ln “at least one or more matters
other than the Probate Matter ” Declaratlon of Palmer J Swanson
ln Support of Plalntlff's Supplemental Opposltlon to Defendant's
Motlon for Summary Judgment, flled November 28, 2011 (“Supp
Decl ”), 9 9 The only example Swanson glves ls a letter Palmer

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CaSe 11-02022 Filed 01/03/12 DOC 206

reasons, Swanson’s servlces ln the probate case dld not fall
wlthln the “same general klnd” exceptlon to the requlrement of a
wrltten fee agreement

3 The State Court’s Order Compelllnq Arbltratlon

Prlor to the flllng of Moore's bankruptcy petltlon, Swanson
sought and obtalned an order of the Sacramento County Superlor
Court compelllng Moore to arbltrate her dlspute wlth Swanson over
the fees for the probate case (the “Arbltratlon Order”) 8
Swanson contends the Arbltratlon Order has blndlng effect and
precludes Moore from dlsputlng ln thls court elther (1) that the
Agreement was valld and enforceable or (2) that the fees for the
probate case were covered by the Agreement, such that Moore's
Bus & Prof Code § 6148(a) argument falls Thls theory -- that
a court orderlng partles to arbltratlon necessarlly and
concluslvely decldes lssues about the valldlty and scope of the
underlylng contract -- would extend the effect of an order
compelllng arbltratlon far beyond exlstlng law governlng

arbltratlon, clalm precluslon, and lssue precluslon

 

Swanson wrote to the County of Sacramento addresslng a nelghbor’s
complalnt about barklng dogs on Moore's and Leus’ property
Assumlng but not decldlng that Swanson’S servlces ln that matter
were of the “same general klnd” as earller servlces provlded to
and pald for by Moore, legal servlces ln a probate case ln whlch
Leus, and not Moore, was a beneflclary, dld not

8. Swanson flnds lt slgnlflcant that Moore dld not oppose
the petltlon to compel arbltratlon Moore states she was not
permltted to present opposltlon because she was not represented
by counsel, and thus, was not aware she had to notlfy the court
prlor to the hearlng of her objectlon to lts tentatlve rullng
As dlscussed below, the court flnds that Moore's objectlons to
the enforceablllty and appllcablllty of the Agreement, as
affectlng the fees for the probate case, would not have been
addressed by the court ln any event, but would have been referred
to arbltratlon Thus, Moore walved nothlng by not presentlng her
arguments at that tlme

 

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CaSe 11-02022 Filed 01/03/12 DOC 206

In conslderlng whether to glve precluslve effect to a state
court’s judgment, the bankruptcy court looks to that state’s law
on precluslon Dlamond v Kolcum §In re Dlamond), 285 F 3d 822,
826 (9th Clr 2002) Under Callfornla law, “[r]es judlcata, or
clalm precluslon, prevents relltlgatlon of the same cause of
actlon ln a second sult between the same partles or partles ln
prlvlty wlth them ” Mvcoqen Corp v Monsanto Co , 28 Cal 4th
888, 896 (2002) For purposes of clalm precluslon, a “cause of
actlon” ls based on the plalntlff’s “prlmary rlght,” namely, “the
rlght to obtaln redress for a harm suffered, regardless of the
speclflc remedy sought or the legal theory advanced ”
Boeken v Phlllp Morrls USA, Inc , 48 Cal 4th 788, 798 (2010)
“‘Hence a judgment for the defendant ls a bar to a subsequent
actlon by the plalntlff based on the same lnjury to the same
rlght, even though he presents a dlfferent legal ground for
rellef ’” ld;, quotlng Slater v Blackwood, 15 Cal 3d 791, 795
(1975), emphasls ln orlglnal

For collateral estoppel, or lssue precluslon, to apply, the
lssue ralsed ln the later proceedlng must be ldentlcal to an
lssue actually lltlgated and necessarlly declded ln the earller
proceedlng Lucldo v Superlor Court, 51 Cal 3d 335, 341-43
(1990) For appllcatlon of elther clalm precluslon or lssue
precluslon, the declslon ln the earller proceedlng must have been
flnal and on the merlts Boeken, 48 Cal 4th at 797

By contrast, based on Callfornla law on arbltratlon, the
court concludes that the Arbltratlon Order ls not flnal, blndlng,
“on the merlts,” or of any precluslve effect on any of the lssues

ln the underlylng dlspute, that ls, the dlspute the partles were

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CaSe 11-02022 Filed 01/03/12 DOC 206

ordered to arbltrate 9

Clalm precluslon does not apply because
the “prlmary rlght” vlndlcated by an order compelllng arbltratlon
ls the petltloner’s rlght to arbltratlon, not hls or her rlghts
ln the underlylng dlspute lssue precluslon does not apply
because the lssue Moore now ralses -- Swanson’s rlght to collect
fees for the probate case from Moore -- was not actually
lltlgated or necessarlly declded by the state court ln the

Arbltratlon Order

The Arbltratlon Order states that the court “conflrms lts

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tentatlve rullng, whlch, ln turn, reads ln lts entlrety
Petltlon to Compel Arbltratlon of Fee Dlspute and for
appolntment of arbltrator ls unopposed and ls granted
Arbltratlon to take place wlthln 90 days of the date of
thls order

Petltloner [Swanson] requests that the Court appolnt
elther Thomas Trost or Eugene Haydu as arbltrator
Petltloner ls dlrected to attempt to meet and confer
wlth respondent, and lf there ls no response the Court
appolnts Thomas Trost as arbltrator

County Bar notlce of rlght to arbltrate pursuant to B&P
Code 6200-6206 only concerns Probate matter, seeklng
$32,011 05 Therefore the blndlng arbltratlon only
concerns thls amount
The prevalllng party shall prepare a formal order for
the Court’s slgnature pursuant to C R C 3 1312 w

Thus, the Arbltratlon Order ltself says nothlng about the

valldlty or enforceablllty of the Agreement, about whether the

 

 

9 Although an arbltratlon award, whether conflrmed by a
subsequent judgment or unconflrmed, may have precluslve effect,
Thlbodeau v Crum, 4 Cal App 4th 749, 758-61 (1992), “the
essentlal adjudlcatlon ln an arbltratlon proceedlng ls the
award ” ld_ at 760, quotlng Trollope v Jeffrles, 55 Cal App
3d 816, 824 (1976) In thls case, there was no award, only an
order compelllng Moore to arbltrate

10 Supp Exhlblts, Ex 2

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CaSe 11-02022 Filed 01/03/12 DOC 206

Agreement was extended by the partles to cover the probate case,
or about whether Swanson’s servlces ln the probate case fell
wlthln the “same general klnd” exceptlon to the requlrement of a
wrltten fee agreement for servlces expected to cost more than
$1,000 n N Swanson’s statement that the Superlor Court made a
speclflc flndlng that the probate matter was wlthln the scope of
the Agreement ls lnaccurate

Petltlons to compel arbltratlon are governed by Cal Code
Clv Proc §§ 1281 and 1281 2 “A wrltten agreement to submlt to
arbltratlon an exlstlng controversy or a controversy thereafter
arlslng ls valld, enforceable and lrrevocable, save upon such
grounds as exlst for the revocatlon of any contract ” Cal Code
Clv Proc § 1281

On petltlon of a party to an arbltratlon agreement

alleglng the exlstence of a wrltten agreement to

arbltrate a controversy and that a party thereto

refuses to arbltrate such controversy, the court shall

order the petltloner and the respondent to arbltrate

the controversy lf lt determlnes that an agreement to

arbltrate the controversy exlsts, unless lt determlnes
that

 

11 Nor does Swanson’s Petltlon to Compel Arbltratlon of
Fee Dlspute The closest lt comes ls thls “Thls agreement [the
Agreement] was extended to cover numerous matters of a perlod of
many months ” Supp Exhlblts, Ex 1 The petltlon does not
mentlon § 6148(d)(2) or the theory, apparently ralsed for the
flrst tlme ln thls adversary proceedlng, that the servlces ln the
probate case were of the same general klnd as servlces earller
provlded to and pald for by Moore

12 “The party seeklng to assert collateral estoppel has
the burden of provlng all the requlsltes for lts appllcatlon To
sustaln thls burden, a party must lntroduce a record sufflclent
to reveal the controlllng facts and plnpolnt the exact lssues
lltlgated ln the prlor actlon Any reasonable doubt as to what
was declded by a prlor judgment should be resolved agalnst
allowlng the collateral estoppel effect ” Kellv v Okove (In re
Kelly), 182 B R 255, 258 (9th Clr BAP 1995), cltatlons omltted,
emphasls added

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CaSe 11-02022 Filed 01/03/12 DOC 206

(a) The rlght to compel arbltratlon has been walved by
the petltloner, or

(b) Grounds exlst for the revocatlon of the agreement

Cal Code Clv Proc § 1281 2

Swanson contends the fees for the probate case must fall
wlthln the scope of the Agreement because the Superlor Court
found that the “controversy” over those fees fell wlthln the
Scope of the Agreement Thls argument ls controverted by the
deflnltlon of a controversy, for purposes of the arbltratlon
statutes “‘Controversy’ means any guestlon arlslng between
partles to an agreement whether such questlon ls one of law or of
fact or both ” Cal Code Clv Proc § 1280(c), emphasls added
The partles’ controversy over the fees for the probate case falls
wlthln that deflnltlon, thls does not mean, however, that the
fees are covered by the Agreement, such that Moore ls llable for
them Instead, that ls preclsely the questlon “arlslng between
the partles” to the Agreement

In thls regard,

[l]f the court determlnes that a wrltten agreement to
arbltrate a controversy exlsts, an order to arbltrate

such controversy may not be refused on the ground that
the petltloner’s contentlons lack substantlve merlt

Cal Code Clv Proc § 1281 2, emphasls added

In rullng upon a petltlon to compel arbltratlon, the
superlor court ls allowed to determlne arbltrablllty
lssues, such [as] the exlstence and valldlty of the
arbltratlon agreement, by utlllzlng summary motlon

 

procedures (Rosenthal 1v Great Western Fln
Securltles Corp , 14 Cal 4th 394, 409 [1996] ) These

procedures are conslstent wlth the use of prlvate
arbltratlon as a means of resolvlng dlsputes qulckly

and lnexpenslvely (Ibld ) “ T he superlor court does

not declde whether the plalntlff’s causes of actlon
have merlt, although some factual questlons consldered

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CaSe 11-02022 Filed 01/03/12 DOC 206

ln decldlng the appllcatlon may overlap those ralsed by
the plalntlff’s clalms for rellef The only guestlon
lmpllcated bV the petltlon to compel arbltratlon ls

whether the arbltratlon agreements should be

speclflcally enforced [T]he superlor court
decldes only the facts necessary to determlne speclflc

enforceablllty of an arbltratlon agreement, an

equltable questlon as to whlch no jury trlal rlght

exlsts (lg_ at p 412 )
Duffens v Valentl, 161 Cal App 4th 434, 444 (2008), emphasls
added

In revlewlng a petltlon to compel arbltratlon, the court
conslders only the exlstence and valldlty of the agreement to
arbltrate, not the valldlty or enforceablllty of the rest of the
partles’ agreement In other words, “‘except where the partles
otherwlse lntend -- arbltratlon clauses are “separable”

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from the contracts ln whlch they are embedded
Erlcksenc Arbuthnot, McCarthyc Kearney & Walshc Inc v 100 Oak
Street, 35 Cal 3d 312, 319 (1983), quotlng Prlma Palnt v Flood
& Conklln (1967) 388 U S 395, 402 (1967) [construlng federal
arbltratlon law] As a result, “even clalms of fraud ln the
lnducement of the contract (as dlstlngulshed from clalms of fraud
dlrected to the arbltratlon clause ltself) wlll be deemed subject
to arbltratlon,” Erlcksen, 35 Cal 3d at 323, and the court ls to
g;ag; a motlon to compel arbltratlon even ln the face of a
party’s contentlon that the underlylng agreement was procured
through fraud lg_ at 324

“[U]nless a party ls clalmlng (l) the entlre contract ls
lllegal, or (ll) the arbltratlon agreement ltself ls lllegal, he
or she need not ralse the lllegallty guestlon prlor to
partlclpatlng ln the arbltratlon process, so long as the lssue ls

ralsed before the arbltrator ” Moncharsh v Hellv & Blase, 3

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CaSe 11-02022 Filed 01/03/12 DOC 206

Cal 4th 1, 31 (1992), emphasls added See also Buckeye Check
Cashlng, Inc v Cardeqna, 546 U S 440, 445-46 (2006) [“unless
the challenge ls to the arbltratlon clause ltself, the lssue of
the contract's valldlty ls consldered by the arbltrator ln the
flrst lnstance ”]

[T]he only approprlate lssues of fact whlch may be

ralsed 10n a motlon to compel arbltratlon1 are (1)

whether “a wrltten provlslon for arbltratlon was made”

and (2) whether “there ls a default ln proceedlng

thereunder ” Thus the word “default” refers only

to the “default” of a party ln refuslng to proceed to

arbltratlon as agreed rather than to a default by a

party under the maln provlslons of the partles'

contract . Any other lnterpretatlon of [the

arbltratlon statutes] would defeat the maln purpose of

arbltratlon proceedlngs, whlch ls to obtaln an

expedltlous hearlng and determlnatlon by arbltrators of
any “dlsagreement” whlch may arlse

Welman v Superlor Court of San Franclsco, 51 Cal 2d 710, 712-13
(1959), emphasls added

For the same reasons, the court flnds that ln response to
Swanson’s motlon to compel arbltratlon, Moore would not have been
able to ralse, and ls not bound by her fallure to ralse, the
lssues of the valldlty and enforceablllty of the Agreement
(except the portlon constltutlng the agreement to arbltrate
dlsputes) or lts appllcablllty to the fees for the probate case

In St Agnes Medlcal Center v PaclflCare of Callfornla, 31
Cal 4th 1187 (2003), PaclflCare and St Agnes Medlcal Center
were partles to two health servlces contracts, one entered lnto
ln 1994 and the other ln 2000 The 2000 agreement contalned an
arbltratlon clause, the 1994 agreement dld not PaclflCare began
the legal contest between the partles by flllng a lawsult ln
state court ln whlch lt alleged that the 2000 agreement was vold

ab lnltlo due to a condltlon subsequent, and sought to enforce

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CaSe 11-02022 Filed 01/03/12 DOC 206

lts rlghts under the 1994 agreement “as lf the [2000 agreement]
never exlsted ” 31 Cal 4th at 1192 St Agnes responded by
flllng a state court actlon seeklng damages for breach of the
2000 agreement, and ln response to that complalnt, PaclflCare
sought to compel arbltratlon under the arbltratlon clause ln the
2000 agreement

The court held that PaclflCare had not walved lts rlght to
compel arbltratlon even though lt was slmultaneously seeklng
resclsslon of the 2000 agreement as a whole St Agnes, 31 Cal
4th at 1200 There was no lndlcatlon the court vlewed
PaclflCare's motlon to compel arbltratlon as precludlng lt from
contlnulng to challenge the valldlty or enforceablllty of the
2000 agreement -- the very agreement that contalned the
arbltratlon clause

Slmllarly, nelther the Arbltratlon Order nor Moore's fallure
to challenge the petltlon for arbltratlon precludes her from
challenglng the valldlty, enforceablllty, or appllcablllty of the
Agreement to the fees for the probate case Those lssues were
slmply not declded by the state court when lt lssued the
Arbltratlon Order The only lssue actually lltlgated and
necessarlly declded was that there was an enforceable agreement
to arbltrate,

To summarlze, lssue precluslon does not apply to the
Arbltratlon Order because the lssues to whlch Swanson seeks to
apply lt were not actually lltlgated or necessarlly declded
Clalm precluslon does not apply because, although lt bars
lltlgatlon of lssues that could have been lltlgated, as well as

those that actually were lltlgated ln the earller proceedlng,

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CaSe 11-02022 Filed 01/03/12 DOC 206

Zevnlk v Superlor Court, 159 Cal App 4th 76, 82 (2008), ln
thls case, the only lssue that could have been lltlgated on the
petltlon to compel arbltratlon was whether there was an agreement
to arbltrate dlsputes between Moore and Swanson Had Moore
ralsed the lssues of enforceablllty of the Agreement and lts
appllcablllty to the probate fees, the court would not have
declded them, lt would have referred them to the arbltrator
Flnally, nelther lssue precluslon nor clalm precluslon applles
because the Arbltratlon Order was not a flnal rullng on the

merlts of the lssues presented ln the underlylng dlspute w

4 Remalnlng Arguments re Lack of ertten Agreement

Swanson ralses several other arguments to support lts theory
that Moore ls llable for the fees even lf the court concludes
there was no wrltten agreement coverlng them Palmer Swanson

testlfled that Moore had told hlm “they” (Moore and Leus) were

 

13 Swanson also relles on the Full Falth and Credlt
Statute, 28 U S C. § 1738, under whlch a federal court must glve
the same effect, lncludlng precluslve effect, to a state court
judgment as would the courts of the state ln whlch the judgment
was entered Swanson concludes, “Thls court ls, therefore, bound
to glve precluslve effect to [the Arbltratlon] Order, just as the
Superlor Court would ” Plalntlff's Supplemental Opposltlon to
Defendant's Motlon for Summary Judgment, flled November 28, 2011,
8 8-9

However, Swanson offers no basls on whlch to conclude the
Superlor Court would glve the Arbltratlon Order precluslve effect
on any of the lssues ln the underlylng dlspute A judgment
conflrmlng an arbltratlon award has the same force and effect and
may be enforced llke any other judgment of the court that lssues
lt Cal Code Clv. Proc § 1287 4 And an unconflrmed award,
although lt has only the status of a wrltten contract between the
partles, Cal Code Clv Proc § 1287.6, may also be entltled to
precluslve effect §ee n 9, above But there ls no authorlty
for the proposltlon that a Callfornla court would glve an order
compelllng arbltratlon precluslve effect on the lssues ln the
underlylng dlspute -- the dlspute that was belng sent to
arbltratlon

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CaSe 11-02022 Filed 01/03/12 DOC 206

unhappy wlth “thelr” attorney ln the probate case, that “they”
mlght want to engage Swanson to asslst “them,” and that Moore
later asked Swanson to represent her and Leus, who Palmer Swanson
understood at the tlme was Moore's husband ln addltlon, Swanson
contends (1) Swanson lssued bllls for servlces ln the probate
case to both Moore and Leus, and Moore dld not object, (2) Moore
wrote at least a couple of checks ln payment of Swanson’s fees
for the probate case, (3) Moore used the term “we” ln e-mall and
other wrltten communlcatlons ln whlch she sald she and Leus were
golng to pay Swanson’s bllls, (4) Moore “called all the shots
durlng the [probate] lltlgatlon” (Swanson Dep at 20), wlth
llttle lnput from Leus, and (5) Moore llsted Swanson as a
credltor ln her bankruptcy schedules, wlthout checklng the
“contlngent,” “unllquldated,” or “dlsputed” box

Assumlng wlthout decldlng that these assertlons are true,
none of them overcomes the requlrement of elther a wrltten
“contract for servlces” under § 6148(a) or an lmplled agreement
to cover servlces of the “same general klnd” as prevlously
rendered and pald for, under § 6148(d)(2), nelther of whlch
exlsted here Although Palmer Swanson testlfles to an e-mall ln
whlch he says Moore “states her agreement to pay for servlces
rendered ln regard to the Probate Matter” (Supp Decl , § 10),
the e-mall does not quallfy as a wrltten “contract for servlces,”
as requlred by § 6148(a) In the e-mall, Moore states, “Early
Monday I am golng to wrlte your check that was not wrltten
Frlday It ls the one payment for the estate for around

$5,000.00 We wlll be sure to get the other monles owed to you

 

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CaSe 11-02022 Filed 01/03/12 DOC 206

as soon as posslble ” Supp Exhlblts, Ex 5 H

Moore's e-mall does not quallfy as a wrltten contract for
servlces under § 6148(a) because lt was not slgned by both the
attorney and the cllent, lt does not state the basls of
compensatlon, lncludlng rates and charges appllcable to the case,
and lt does not state the general nature of the legal servlces to
be provlded or the respectlve responslbllltles of the attorney
and the cllent, all as requlred by that statute In Iverson,
Yoakum, Paplano & Hatch v Berwald, 76 Cal App 4th 990 (1999),
the plalntlff/law flrm relled on a wrltten promlssory note slgned
by the cllent/defendant, ln the amount of the attorney's fees
alleged to be due, as a substltute for a wrltten fee agreement
requlred under § 6148(a) The court dlsagreed

The problem wlth thls theory ls that there ls no

evldence of any antecedent wrltten fee agreement

satlsfylng the provlslons of sectlon 6148, thus

renderlng any fee agreement voldable by the cllent,

because there ls no valld underlylng contract for fees,

the promlssory note, whlch also falls to comply wlth

sectlon 6148, must also be voldable lf the lnstant

promlssory note were not also voldable under sectlon

6148, the provlslons of sectlon 6148 would be able to

be easlly clrcumvented
76 Cal App 4th at 996 The same reasonlng and concluslon apply
wlth respect to Moore's e-mall to Palmer Swanson, and to her

llstlng of Swanson as a credltor ln her bankruptcy schedules w

 

14 lt appears from an accountlng by Swanson, offered as an
exhlblt by Moore, that the payment referred to here was ln fact
for servlces ln the probate case

15 Further, Swanson does not contend lt relled to lts
detrlment on Moore's llstlng of Swanson as undlsputed ln her
orlglnal schedules or that Swanson was prejudlced by Moore's
amendment to llst lt as dlsputed See Heath v Am Express
Travel Related Servs Co (In re Heath), 331 B R 424, 431 (9th
Clr BAP 2005)

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CaSe 11-02022 Filed 01/03/12 DOC 206

For the reasons dlscussed above, the court concludes that
the servlces ln the probate case were not covered by a wrltten
fee agreement, as requlred by Cal Bus & Prof Code § 6148(a),
and dld not fall wlthln the “same general klnd” exceptlon of §
6148(d)(2) The Arbltratlon Order does not change elther of
these concluslons, nor do Swanson’s remalnlng arguments

Thus, Swanson was llmlted to recovery of “a reasonable fee,”
Bus & Prof Code § 6148(c), ln other words, to fees on a quantum
merult basls

5 The Statute of leltatlons

“[A} statute of llmltatlons does not begln to run untll the
cause of actlon accrues ” Spear v Callfornla State Auto Assn ,
2 Cal 4th 1035, 1040 (1992) The date of accrual on Swanson’s
quantum merult clalm for fees ln the probate case ls elther the
last date Swanson performed servlces ln the case, January 16,
2008 (see, E O C. Ord, Inc v Kovakovlch, 200 Cal App 3d 1194,
1203 (1988)) or the date the last payment was made toward lts
fees, October 7, 2007 (§ee Iverson, 76 Cal App 4th at 996)

The court need not determlne whlch of these dates ls correct, as
the outcome of the Motlon ls the same elther way

The statute of llmltatlons on a quantum merult clalm ls two
years Cal Code Clv Proc § 339, Iverson, 76 Cal App 4th at
996 Dependlng on whether the clalm accrued on October 7, 2007
or January 16, 2008, the statute of llmltatlons on Swanson’s
quantum merult clalm, unless otherwlse tolled or satlsfled,
explred on October 7, 2009 at the earllest or on January 16, 2010
at the latest. On January 26, 2009, Swanson flled lts petltlon

to compel arbltratlon

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CaSe 11-02022 Filed 01/03/12 DOC 206

Thus, Swanson flled the petltlon before the statute of
llmltatlons on the underlylng quantum merult clalm had run The
petltlon was also tlmely under the statute of llmltatlons on an
actlon to compel arbltratlon, whlch ls four years after the tlme
the other party has refused to submlt to arbltratlon §peg;, 2
Cal 4th at 1040-42, Me er v Carnow, 185 Cal App 3d 169, 173
(1986) M Thus, Swanson was entltled to a determlnatlon by way of
blndlng arbltratlon as to the matter of lts fees for the probate
case m

The Arbltratlon Order states that the arbltratlon was to
take place wlthln 90 days from the date of the order, Swanson
apparently dld not pursue arbltratlon wlthln that tlme or ln the
15 months before Moore flled her bankruptcy petltlon However,
the record ln thls case ls not sufflclent to establlsh that by
thls delay, Swanson walved or abandoned lts rlght to arbltratlon
“Generally, the determlnatlon of walver [of the rlght to

arbltratlon] ls a questlon of fact,” see St Agnes, 31 Cal 4th

at 1196, lnvolvlng a conslderatlon of several factors Id

 

16 The court rejects Moore's contentlon that the statute
of llmltatlons began to run as early as January 2006, when the
partles slgned the Agreement, or June 2006, when Swanson’s
servlces ln the furnlture converslon matter referred to ln the
Agreement were allegedly completed Under elther theory, the
cause of actlon would accrue, and the llmltatlons perlod would
begln, before the servlces for whlch the attorney's fees are
sought have even been performed

17 Moore argues the court should not conslder the Arbltratlon
Order because lt was (1) not produced untll the day of the hearlng on
the Motlon, (2) not produced ln response to appllcable dlscovery
requests, and (3) not llsted ln Swanson’S pretrlal statement However,
lt ls not the Arbltratlon Order that ls the operatlve document for
purposes of the statute of llmltatlons lssue, but the petltlon to
compel arbltratlon, whlch Swanson had earller produced and whlch Moore
herself flled as an exhlblt ln support of the Motlon

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CaSe 11-02022 Filed 01/03/12 DOC 206

Moore makes a strenuous walver argument, but lt ls dlrected
to Swanson’s fallure to produce the Arbltratlon Order earller ln
thls adversary proceedlng, rather than to the pre-petltlon
fallure to pursue arbltratlon after obtalnlng the Arbltratlon
Order Moore also complalns of Swanson’s actlvltles ln thls
adversary proceedlng, lncludlng engaglng ln dlscovery and flllng
varlous motlons She cltes Chrlstensen v Dewor Developments, 33
Cal 3d 778, 780-84 (1983), ln whlch the court held that the
plalntlffs, “by flllng two complalnts almed at dlscoverlng thelr
opponents' legal theorles and thereby preclpltatlng lengthy
delays, [had] walved thelr rlght to arbltrate ” 33 Cal 3d at
787

The reasonlng and the case do not apply here In

Chrlstensen, the plalntlffs chose to flle and lltlgate an

extenslve clvll complalnt rather than proceedlng wlth
arbltratlon There was no bankruptcy case lnvolved ln the
present case, Swanson sought to compel arbltratlon after Moore
had not responded to lts notlce of rlght to arbltrate
Apparently, nelther party took any actlon ln the lntervenlng 15
months prlor to Moore's flllng of her bankruptcy petltlon At
that polnt, however, (1) the automatlc stay prevented Swanson
from pursulng the arbltratlon, (2) Swanson was arguably a
credltor, wlthln the Code’s broad deflnltlon, wlth the rlght to
challenge Moore's dlscharge, and (3) havlng chosen that optlon,
Swanson had the rlght to engage ln dlscovery and lltlgatlon ln
the adversary proceedlng

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CaSe 11-02022 Filed 01/03/12 DOC 206

6 quht to Quantum Merult Rellef

Flnally, Moore contends Swanson’s servlces ln the probate
case were lntended to and dld beneflt Leus, not Moore, and thus,
that Swanson ls not entltled to recovery on a quantum merult
basls as agalnst Moore The court was lnltlally lncllned to
agree that there was no genulne lssue of materlal fact on thls
lssue, and lt stlll appears the lnterests at stake ln the probate
case were largely Leus' lnterests, not Moore's Leus and hls two
brothers were the sole beneflclarles of Curtls’ wlll, they were
the only lndlvlduals who stood to share ln the estate after
payment of credltor clalms and attorney's fees There ls some
debate as to whether Moore held herself out as marrled to Leus,
however, as assets acqulred by lnherltance are separate property,
even lf Moore and Leus were marrled or lf Palmer Swanson belleved
they were marrled, only Leus stood to beneflt from the probate
estate

Swanson contends that as a result of lts servlces, the
Curtls estate admlnlstrator dld not pursue Moore on account of an
alleged fraudulent transfer by whlch the estate had sold a
resldence to Moore's mother -- the house ln whlch Moore and Leus
llved lt appears Swanson’s servlces wlth respect to thls lssue
were nomlnal and lncldental to the rest of lts servlces ln the
probate case, and there are hardly any tlme entrles ln Swanson’s
bllllngs that concern the matter

On the other hand, there ls a genulne lssue of materlal fact
as to whether some of Swanson’s servlces ln the probate case,
however small the portlon, resulted ln some beneflt to Moore

Further, under Callfornla law, a party need not have recelved a

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CaSe 11-02022 Filed 01/03/12 DOC 206

dlrect beneflt ln order to be obllgated under quantum merult for
servlces provlded to another In Earhart v Wllllam Low Co , 25
Cal 3d 503 (1979), the lssue was “whether a party who expends
funds and performs servlces at the request of another, under the
reasonable bellef that the requestlng party wlll compensate hlm
for such servlces, may recover ln quantum merult although the
expendltures and servlces do not dlrectly beneflt property owned
by the requestlng party ” 25 Cal 3d at 505 The court
concluded that he may, gg_ at 515, stresslng that “performance of
servlces at another’s behest may ltself constltute ‘beneflt’ such
that an obllgatlon to make restltutlon may arlse ” lg_ at 511

Moore has testlfled as follows on the lssue of whether she
asked Swanson to perform servlces ln the probate case

I dld not request that Swanson provlde servlces

for Leus l dld not offer to pay for any legal

servlces rendered to Steven Leus l speclflcally told

Swanson l would not be responslble ln any way for

Steven Leus[’] fees I have never agreed to be

responslble for the legal fees of Steven Leus on any

basls w
Swanson, on the other hand, testlfles that lt was Moore who came
to hlm ln the flrst place and requested he provlde representatlon
ln the probate case Thus, there ls a trlable lssue of materlal
fact as to whether Swanson’s servlces ln the probate case were
rendered at Moore's request, and thus, whether she ls llable to
Swanson on a quantum merult basls for some or all of those fees,

whether or not she benefltted dlrectly from those servlces As a

result, the court concludes that, had the matter been arbltrated,

 

18 Declaratlon [of Klrra Moore] ln Support of Debtor[']s
Motlon for Summary Judgment, flled September 30, 2011, 11 4, 5,
7, 8

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CaSe 11-02022 Filed 01/03/12 DOC 206

lt ls posslble the arbltrator would have found Swanson entltled
to fees from Moore on a quantum merult basls, even lf ln a small
amount In these clrcumstances, for the purposes of summary
judgment, and glven the broad deflnltlon of a “clalm” under the
Bankruptcy Code, Egebjerg v Anderson §ln re Egebjerg), 574 F 3d
1045, 1049 (2009), the court flnds there are genulne lssues of
materlal fact as to Swanson’s standlng ln thls adversary
proceedlng For that reason, the Motlon wlll be denled
III CONCLUSION

For the reasons dlscussed above, the court concludes that
Swanson’s complalnt sufflclently pleads Swanson’s standlng as a
credltor of Moore, and further, that as a result of the presence
of genulne lssues of materlal fact, Moore ls not entltled to
judgment as a matter of law on the lssue of Swanson’s standlng
Thus, Moore's requests for dlsmlssal of the complalnt and for
summary judgment wlll be denled

The court wlll lssue an approprlate order

Dated :QQ § , 2012 {é¢a,¢¢-,EM

ROBERT S BARDWIL
Unlted States Bankruptcy Judge

 

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CaSe 11-02022 Filed 01/03/12 DOC 206

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF CALIFORNIA

CERTIFICATE OF MAILING

The underslgned deputy clerk ln the offlce of the Unlted
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hereby certlfles that a copy of the document to whlch thls
oertlflcate ls attached was malled today to the followlng

entltles at the addresses shown below or on the attached llst

 

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j`m/\Ua VJ jj 2012 lbeputy Clerk (/ “/

Ehzabeth Argento
EDC 3-070 (Rev 6/28/10)

